Case 6:13-cv-01243-CEM-DAB Document 93 Filed 03/18/15 Page 1 of 18 PageID 2180



                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION


 AVIATION ONE OF FLORIDA, INC.,

                       Plaintiff,

 v.                                                          Case No: 6:13-cv-1243-Orl-41DAB

 AIRBORNE INSURANCE
 CONSULTANTS (PTY), LTD, AFRICA
 TOURS AND TRAVEL, LLC,
 MOHAMED DIAOUNE and CLYDE &
 CO., LLP,

                       Defendants.
                                             /

                                             ORDER

        THIS CAUSE is before the Court on Defendant Airborne Insurance Consultants (PTY),

 LTD’s (“Airborne”) Motion to Dismiss the Amended Complaint for Lack of Personal Jurisdiction

 (Doc. 86); Defendant Clyde and Co., LLP’s (“Clyde”) Motion to Dismiss for Lack of Personal

 Jurisdiction, and Motion to Quash Improper Service of Process or, Alternately, Motion to Dismiss

 for Improper Venue (Doc. 75); and Plaintiff’s Motion to Modify Case Management & Scheduling

 Order, Extend Deadlines and to Proceed with Discovery (Doc. 80). As set forth herein, Airborne’s

 and Clyde’s jurisdictional motions will be granted, and all claims against Airborne and Clyde will

 be dismissed for want of personal jurisdiction. Plaintiff’s Case Management Motion will be

 granted in part.




                                           Page 1 of 18
Case 6:13-cv-01243-CEM-DAB Document 93 Filed 03/18/15 Page 2 of 18 PageID 2181



                                          I.     BACKGROUND

         Plaintiff filed its original Complaint (Doc. 1) against Airborne, Africa Tours and Travel,

 LLC d/b/a S.A. Guinee 1 (“S.A. Guinee”), and Mohamed Diaoune, alleging negligence, common

 law indemnity, breach of guarantee, and breach of contract claims. Plaintiff then filed an Amended

 Complaint (Doc. 67), adding a claim for breach of fiduciary duty against Airborne, adding Clyde

 as a defendant, and asserting a claim for professional negligence against Clyde.

         Plaintiff’s claims are all tied to the crash of Plaintiff’s Beech model 1900C aircraft (the

 “Aircraft”), in Guinea, West Africa. (Am. Compl. ¶¶ 8, 27, 30, 34). At the time of the crash, the

 Aircraft was leased by S.A. Guinee, a Georgia limited liability company. (Id. ¶¶ 4, 12–13). The

 lease agreement required S.A. Guinee to procure and maintain insurance on the Aircraft and set

 forth the nature of the coverage required. (Id. ¶¶ 14–15). S.A. Guinee engaged Airborne, an

 insurance broker located in South Africa, to procure the necessary insurance on S.A. Guinee’s

 behalf. (Id. ¶¶ 2, 14). Airborne procured insurance from Guardrisk Insurance Company, Ltd.

 (“Guardrisk”), also located in South Africa. (Id. ¶ 19 & n.1). The policy named both S.A. Guinee

 and Plaintiff as the “Insured.” (Id.).

         After the crash, Guardrisk denied Plaintiff’s claim for several reasons, including the fact

 that the individual piloting the Aircraft was not listed as an approved pilot on the insurance policy.

 (Id. ¶ 30 & n.2). Plaintiff also discovered that the policy did not contain the Breach of Warranty

 endorsement for the full hull value. (Id. ¶ 31). Throughout the claims process, Airborne served as

 Plaintiff’s representative in negotiations with Guardrisk. (Id. ¶¶ 32–33). At some point after the

 denial, Airborne referred Plaintiff to its legal counsel, Clyde, which is located in the United



         1
           Although the case style indicates that the company’s name is “S.A. Guinea,” Plaintiff
 refers to the company as “S.A. Guinee,” which appears to be accurate from the company’s email
 account. (See e.g., Ex. 5 to Mar. 17, 2014 Udey Aff., Doc. 87-1, at 29).



                                               Page 2 of 18
Case 6:13-cv-01243-CEM-DAB Document 93 Filed 03/18/15 Page 3 of 18 PageID 2182



 Kingdom. (Id. ¶ 34). According to Plaintiff, Clyde failed to disclose a conflict of interest created

 by representing both Airborne and Plaintiff. (Id. ¶¶ 35–36). Airborne and Clyde now each move

 for dismissal of the claims against them for lack of personal jurisdiction.

                                     II.     LEGAL STANDARD

         “A plaintiff seeking the exercise of personal jurisdiction over a nonresident defendant

 bears the initial burden of alleging in the complaint sufficient facts to make out a prima facie case

 of jurisdiction.” 2 United Techs. Corp. v. Mazer, 556 F.3d 1260, 1274 (11th Cir. 2009). “When a

 defendant challenges personal jurisdiction by submitting affidavit evidence in support of its

 position, the burden . . . shifts back to the plaintiff to produce evidence supporting jurisdiction”

 unless “the defendant’s affidavits contain only conclusory assertions that the defendant is not

 subject to jurisdiction.” Louis Vuitton Malletier, S.A. v. Mosseri, 736 F.3d 1339, 1350 (11th Cir.

 2013) (quotations omitted).

        As a federal court sitting in diversity, this Court must “undertake[] a two-step inquiry in

 determining whether personal jurisdiction exists: the exercise of jurisdiction must (1) be

 appropriate under the state long-arm statute and (2) not violate the Due Process Clause of the

 Fourteenth Amendment to the United States Constitution.” United Techs., 556 F.3d at 1274. Here,

 Plaintiff has failed to establish jurisdiction under the Due Process Clause as to either Airborne or

 Clyde, rendering an analysis under Florida’s long-arm statute unnecessary.

         “[D]ue process requires . . . that in order to subject a defendant to a judgment in personam,

 if he be not present within the territory of the forum, he have certain minimum contacts with it




        2
          Plaintiff makes argues that this Court may have general jurisdiction over Clyde because
 Clyde is affiliated with a U.S. law firm. However, Plaintiff misconstrues the Affidavit submitted
 by Clyde, which states that its U.S. counterpart is not a subsidiary of, or owned by, Clyde. (Langley
 Aff., Doc. 75-1, ¶ 14). Moreover, the U.S.-based firm does not have an office in Florida. (Id.).



                                            Page 3 of 18
Case 6:13-cv-01243-CEM-DAB Document 93 Filed 03/18/15 Page 4 of 18 PageID 2183



 such that the maintenance of the suit does not offend ‘traditional notions of fair play and substantial

 justice.’” Int’l Shoe Co. v. Wash., 326 U.S. 310, 316 (1945) (quoting Milliken v. Meyer, 311 U.S.

 457, 463 (1940)). “In a case involving specific jurisdiction, a defendant’s contacts with the forum

 state must satisfy three criteria:” (1) “they ‘must be related to the plaintiff’s cause of action or have

 given rise to it;’” (2) “they must involve ‘some act by which the defendant purposefully avails

 itself of the privilege of conducting activities within the forum’; and” (3) “they ‘must be such that

 the defendant should reasonably anticipate being haled into court there.’” Sloss Indus. Corp. v.

 Eurisol, 488 F.3d 922, 925 (11th Cir. 2007) (quoting McGow v. McCurry, 412 F.3d 1207, 1214

 (11th Cir. 2005)).

                              III.    MOTION TO DISMISS BY AIRBORNE

         Plaintiff’s claims against Airborne involve two separate events: the procurement of the

 insurance policy and the representation of Plaintiff in post-crash negotiations. Plaintiff must

 establish a separate basis for personal jurisdiction as to each claim. RMS Titanic, Inc. v. Kingsmen

 Creatives, Ltd., 579 F. App’x 779, 788 (11th Cir. 2014) (“[P]ersonal jurisdiction over one

 individual claim cannot be expanded to cover other related claims unless the claims ‘arose from

 the same jurisdiction generating event.’” (quoting Cronin v. Wash. Nat’l Ins. Co., 980 F.2d 663,

 671 (11th Cir. 1993)).

         A.      Minimum Contacts—Negligent Procurement

         Regarding the procurement and issuance of the insurance policy, Airborne had no direct

 contact with Plaintiff or Florida. Airborne does not maintain any place of business or office

 locations in Florida, is not registered as a corporation in Florida, has no employees or agents in

 Florida, does not generate any revenue in Florida, pays no taxes in Florida, owns no property in

 Florida, and does not engage in any advertising or solicitation directed to Florida. (Feb. 13, 2014




                                              Page 4 of 18
Case 6:13-cv-01243-CEM-DAB Document 93 Filed 03/18/15 Page 5 of 18 PageID 2184



 Ray Aff. (“Feb. Ray Aff.”), Doc. 86-2, ¶¶ 5–15). Airborne was retained by S.A. Guinee, a Georgia

 company, to procure the insurance policy, and Airborne communicated only with S.A. Guinee

 during the procurement and renewal process. (Id. ¶¶ 16–17; Apr. 8, 2014 Ray Aff. (“Apr. Ray

 Aff.”), Doc. 86-3, ¶ 4). Although Plaintiff attempts to transmute the facts with the conclusory

 statement that “prior to the initial issuance of the Policy through the claims process, Airborne

 Insurance communicated with [Plaintiff] in Florida by telephone, email, and U.S. mail,” (Mar. 17,

 2014 Udey Aff. (“Mar. Udey Aff.”), Doc. 87-1, ¶ 8), Plaintiff fails to identify a single

 communication between Plaintiff and Airborne prior to the crash. Instead, Plaintiff relies on emails

 forwarded to Plaintiff by S.A. Guinee, (Exs. 3, 7 to Mar. Udey Aff.), and emails from S.A. Guinee

 to Airborne on which S.A. Guinee copied Plaintiff, (Ex. 2 to Mar. Udey Aff.). Airborne’s evidence

 is consistent with Plaintiff’s supporting documentation; “[t]he only instance in which Airborne

 and [Plaintiff] had any contact prior to the issuance of the policy or the aviation accident was when

 [Plaintiff] was copied on one or two emails between Airborne and S.A. Guine[e]. Airborne was

 not the entity that included [Plaintiff] as a ‘cc’ on these emails.” (Apr. Ray Aff. ¶ 8).

        Plaintiff also cleverly phrases statements to obscure the identity of who actually made these

 communications. For example, Plaintiff stated that it “was furnished a copy of the proposed

 policy,” which was marked up to answer the “lessor’s questions.” (Mar. Udey Aff. ¶ 5). The

 insinuation posited by Plaintiff—that the policy was furnished to Plaintiff by Airborne—is

 rebutted by Plaintiff’s own evidence; S.A. Guinee provided these documents to Plaintiff, and the

 documents were marked up to answer questions actually raised by S.A. Guinee. (Ex. 3 to Mar.

 Udey Aff.; see also Apr. Ray Aff. ¶ 7). The mere fact that S.A. Guinee may have asked Airborne

 questions that arose from a conversation between S.A. Guinee and Plaintiff does not transform




                                             Page 5 of 18
Case 6:13-cv-01243-CEM-DAB Document 93 Filed 03/18/15 Page 6 of 18 PageID 2185



 S.A. Guinee’s inquiries into a communication between Plaintiff and Airborne. Accordingly,

 Airborne had no direct contact with Florida or Plaintiff prior to the crash.

        In some circumstances, however, “[d]irect contact by a nonresident defendant with the

 forum is not required.” Ruiz de Molina v. Merritt & Furman Ins. Agency, Inc., 207 F.3d 1351,

 1357 (11th Cir. 2000). Plaintiff has advanced two theories for exercising personal jurisdiction over

 Airborne despite Airborne’s lack of direct contact with the forum during the procurement of the

 insurance policy: the “stream of commerce” theory and the “effects” test.

        Under the “stream of commerce” theory, a district court may assert “personal jurisdiction

 over a corporation that delivers its products into the stream of commerce with the expectation that

 they will be purchased by consumers in the forum State,” Worldwide Volkswagen Corp. v.

 Woodson, 444 U.S. 286, 298 (1980), “so long as the nonresidents’s conduct and connection with

 the forum state are such that he should reasonably anticipate being haled into court there for claims

 arising out of that conduct,” Ruiz de Molina, 207 F.3d at 1357. This theory does not support an

 exercise of jurisdiction over Airborne. 3

        “[T]he stream-of-commerce metaphor cannot supersede either the mandate of the Due

 Process Clause or the limits on judicial authority that Clause ensures.” J. McIntyre Mach., Ltd. v.

 Nicastro, 131 S. Ct. 2780, 2791 (2011). Indeed, the United States Supreme Court “has strongly

 suggested that a single sale of a product in a State does not constitute an adequate basis for asserting



        3
          As an initial matter, it is unclear whether the “stream of commerce” theory is applicable
 here. The theory is focused on injury caused by a product, see, e.g., J. McIntyre Mach., Ltd. v.
 Nicastro, 131 S. Ct. 2780, 2786 (2011) (applying stream of commerce theory to injury caused by
 metal shearing machine); Asahi Metal Indus. Co. v. Superior Court of Calif., Solano Cnty., 480
 U.S. 102, 105–06 (1987) (motorcycle tire); Worldwide Volkswagen, 444 U.S. at 287–88
 (automobile), and the damages alleged by Plaintiff did not stem from the “product” placed into the
 stream of commerce—the insurance policy—but rather from acts and omissions allegedly
 committed by Airborne.




                                              Page 6 of 18
Case 6:13-cv-01243-CEM-DAB Document 93 Filed 03/18/15 Page 7 of 18 PageID 2186



 jurisdiction over an out-of-state defendant, even if that defendant places his goods in the stream of

 commerce, fully aware (and hoping) that such a sale will take place.” Id. at 2792 (Breyer, J.,

 concurring in judgment). 4 Plaintiff’s negligent procurement claim involves, at best, such a

 situation.

         The case cited by Plaintiff, Ruiz de Molina, is inapposite. In that case, a Michigan insurance

 broker procured a policy on behalf of an Alabama resident to cover a boat while it was located in

 Alabama, but the insurance broker had no direct contact with the Alabama resident. 207 F.3d at

 1354–55. In determining that personal jurisdiction existed over the insurance broker, the Ruiz de

 Molina Court found it significant that the broker knew “full well that [the policy] was to be

 purchased by and delivered to an Alabama resident for a boat anchored in Alabama which would,

 of necessity, move in Alabama waters.” Id. at 1357–58. To the contrary, in this case S.A. Guinee

 reached out from Georgia to Airborne in South Africa and purchased the insurance policy. (Apr.

 Ray Aff. ¶ 4). The policy and invoices were delivered to S.A. Guinee, (id. ¶ 5), and the policy

 insured an aircraft located in West Africa, specifically limiting the insurance coverage to the

 continent of Africa. (Certificate of Insurance, Ex. 6 to Mar. Udey Aff., at 1). Unlike the situation

 in Ruiz de Molina, neither the entity purchasing the insurance nor the property to be insured were

 located in the forum. 5 Based on these facts, Airborne could not have reasonably anticipated being

 haled into court in Florida.



         4
           “J. McIntyre was a fragmented decision and no opinion enjoyed the assent of five Justices.
 Therefore, courts have considered Justice Breyer’s concurring opinion as the holding because he
 concurred in the judgment on only the narrowest of grounds.” Hatton v. Chrysler Can., Inc., 937
 F. Supp. 2d 1356, 1366 (M.D. Fla. 2013); see also Marks v. United States, 430 U.S. 188, 193
 (1977) (“When a fragmented Court decides a case and no single rationale explaining the result
 enjoys the assent of five Justices, the holding of the Court may be viewed as that position taken by
 those Members who concurred in the judgments on the narrowest grounds.” (quotation omitted)).
         5
           Plaintiff makes much of the fact that the Aircraft was, at one time, located in Florida.
 However, the entirety of Airborne and S.A. Guinee’s business dealings contemplated that the



                                             Page 7 of 18
Case 6:13-cv-01243-CEM-DAB Document 93 Filed 03/18/15 Page 8 of 18 PageID 2187



         Moreover, the Ruiz de Molina court did not rely exclusively on the stream of commerce

 theory. Seemingly more important to the Ruiz de Molina decision was its analysis under the

 “effects” test set forth in Calder v. Jones, 465 U.S. 783 (1984). Ruiz de Molina, 207 F.3d at 1358.

 The effects test is based on the premise that a defendant purposefully avails himself of a forum’s

 laws when he intentionally and tortiously commits actions that are expressly aimed at that forum;

 that such intentional tortious activities provide a defendant with fair notice that injury will occur

 in the forum; and that, therefore, the defendant should reasonably anticipate being haled into court

 in the forum. Calder, 465 U.S. 789–90. Accordingly, minimum contacts may be established under

 the effects test where the alleged tort “was (1) intentional; (2) aimed at the forum state; and (3)

 caused harm that the defendant should have anticipated would be suffered in the forum state.”

 Licciardello v. Lovelady, 544 F.3d 1280, 1286 (11th Cir. 2008). Despite Plaintiff’s arguments to

 the contrary, the “effects” test does not apply here.

         Plaintiff’s claims stemming from the procurement of the policy do not assert a claim for an

 intentional tort. Therefore, the claims fail the first prong of the effects test and the rationale behind

 the test is inapplicable. Louis Vuitton, 736 F.3d at 1356–57 & n.11 (noting that the effects test

 applies only in intentional tort cases). Plaintiff evades this issue in his Response, focusing on the

 fact that he has alleged that Airborne’s procurement actions breached its fiduciary duty to Plaintiff

 and arguing that “[t]he intentional tort of breach of fiduciary duty is a ‘classic example’ of such

 acts that satisfy the effects test.” (Resp. to Airborne’s Mot. to Dismiss, Doc. 87, at 18). While




 Aircraft would be located and operated in Africa. Plaintiff indicates that there may have been a
 separate policy or provision insuring the Aircraft during its transport from the United States to
 Africa. However, none of the allegations of this case arise from that policy or any damage that
 occurred during the transport. See Louis Vuitton, 736 F.3d at 1356–58 (noting that relatedness
 between the defendant’s contact with the forum and the plaintiff’s claim is “[a] fundamental
 element of the specific jurisdiction calculus.” (quotation omitted)).



                                              Page 8 of 18
Case 6:13-cv-01243-CEM-DAB Document 93 Filed 03/18/15 Page 9 of 18 PageID 2188



 Plaintiff’s general proposition is correct, it is irrelevant. Plaintiff does not state a claim for

 intentional breach of fiduciary duty. Instead, Plaintiff alleges negligent breach of fiduciary duty.

 See Horizons Rehab., Inc. v. Health Care & Ret. Corp., 810 So. 2d 958, 964 (Fla. 5th DCA 2002)

 (noting that a breach of fiduciary duty claim may be “either a negligent or an intentional tort”).

 Plaintiff’s Amended Complaint makes no mention of intentional or fraudulent behavior. To the

 contrary, Plaintiff alleges that it has been damaged “[a]s a result of Airborne’s negligence” and

 “as a direct consequence of Airborne’s negligence.” (Am. Compl. ¶¶ 62–63 (emphasis added)). In

 addition, all of the factual allegations detailing Airborne’s purported breach sound in negligence.

 (Id. ¶¶ 12–34, 39–47, 52 (incorporating the negligence cause of action into the breach of fiduciary

 duty claim), 53–61). Thus, Plaintiff does not allege an intentional tort, making the effects test

 inapplicable.

        Plaintiff has failed to establish a means by which this Court may exercise personal

 jurisdiction over Airborne for its actions in connection with the procurement of the insurance

 policy. Airborne had no direct contact with Florida associated with the procurement of the policy,

 and the mechanisms argued by Plaintiff to allow the exercise of personal jurisdiction without direct

 contact are inapplicable. Thus, Plaintiff’s claims associated with the procurement of the insurance

 policy must be dismissed.

        B.       Minimum Contacts—Post-Crash Representation

        The Court now turns to the breach of fiduciary duty claim arising from Airborne’s alleged

 post-crash representation of Plaintiff. Airborne had some direct contact with Plaintiff in Florida

 regarding this claim. These communications were limited to email and possibly telephone calls.

 (Mar. Udey Aff. ¶¶ 11–14; Exs. 8, 9 to Mar. Udey Aff.; Apr. Ray Aff. ¶ 11). Airborne never sent

 any representatives or agents to Florida. (Apr. Ray Aff. ¶ 11). Plaintiff has not alleged that




                                            Page 9 of 18
Case 6:13-cv-01243-CEM-DAB Document 93 Filed 03/18/15 Page 10 of 18 PageID 2189



 Airborne’s representation involved any proceedings or negotiations in Florida or that Airborne

 provided Plaintiff with any documents to be utilized or filed in Florida. (See Mar. Udey Aff. ¶¶ 11–

 13; Exs. 8, 9 to Mar. Udey Aff.). Instead, the representation was limited to procedures and

 negotiations taking place in Africa. Airborne negotiated with Guardrisk in South Africa, and the

 legal procedures took place in the South African courts. The representation regarded an insurance

 policy covering an aircraft located in West Africa. In the policy, coverage was limited to the

 continent of Africa, and the crash at issue occurred in West Africa. Such representation is

 insufficient to establish minimum contacts with Florida.

        Indeed, the facts of Plaintiff’s alleged breach of fiduciary duty claim are analogous to those

 in Thomas v. Brown, 504 F. App’x 845 (11th Cir. 2013). In Thomas, no personal jurisdiction

 existed over non-resident attorneys because they did not have minimum contacts with the forum.

 Id. at 849. The out-of-state defendants in Thomas represented the Florida-resident plaintiffs in

 litigation taking place in Ohio. Id. at 846. Like Airborne, the Thomas defendants had “no office,

 telephone, bank account, or property of any kind in the state of Florida”; they “d[id] not market

 themselves to Florida”; they did not solicit the plaintiffs; and they “did not conduct any matters

 related to [the] lawsuit in Florida.” Id. at 848–49. Also like Airborne, “[t]he only contacts by [the

 defendants] with Florida regarding [the representation] involved telephone and electronic

 communications made with [the] Florida-resident [plaintiffs].” Id. at 848. The proceedings and

 negotiations “were not conducted in Florida,” and the defendants never “traveled to Florida for

 anything connected with [the] matter.” Id. Such “minimal contact with Florida is not the type that

 would ‘lead a person to reasonably expect the possibility of ensuing litigation in a Florida court

 should some type of dissatisfaction or complications arise’” and does not establish “sufficient




                                            Page 10 of 18
Case 6:13-cv-01243-CEM-DAB Document 93 Filed 03/18/15 Page 11 of 18 PageID 2190



 minimum contacts with the state of Florida” to permit the exercise of personal jurisdiction. Id. at

 849 (quoting Sculptchair, Inc. v. Century Arts, Ltd., 94 F.3d 623, 631 (11th Cir. 1996)).

        Plaintiff’s reliance on Cronin is misguided. In Cronin, the defendant insurance broker

 allegedly “entered into an oral contract to provide insurance coverage in Florida to a woman who

 was hospitalized in Florida.” 980 F.2d at 670. The defendant was alleged to have breached that

 oral contract. Id. Unlike this case, the insurance policy in Cronin was purchased by a Florida

 resident to insure against a risk in Florida. Cronin also involved a cause of action not pleaded

 here—failure to perform on a contract in Florida. Id.

        The case of Robinson v. Giarmarco & Bill, P.C., 74 F.3d 253 (11th Cir. 1996) is also

 instructive. In determining that it could exercise personal jurisdiction over the defendants, the

 Robinson court focused on the fact that the defendants “rendered estate planning services to the

 Decedent knowing that he resided in Florida . . . [and] that the will would be probated, and the

 trust administered, in Florida.” Id. at 259. The court also noted that the defendants had “drafted

 documents intending for Florida law to govern.” Id. Airborne engaged in no such purposeful

 availment.

        Plaintiff has failed to establish that Airborne had sufficient minimum contacts with this

 forum in order to anticipate being haled into court here. Thus, an exercise of personal jurisdiction

 over Airborne in this case would violate the Due Process Clause.

        C.      Fair Play and Substantial Justice

        In rare cases, “considerations [of fair play and substantial justice] may serve to establish

 the reasonableness of jurisdiction upon a lesser showing of minimum contacts than would

 otherwise be required.” Madara v. Hall, 916 F.2d 1510, 1517 (11th Cir. 1990) (citing Burger King

 Corp. v. Rudzewicz, 471 U.S. 462, 477 (1985)). This is not such a case. Where, as here, a plaintiff




                                           Page 11 of 18
Case 6:13-cv-01243-CEM-DAB Document 93 Filed 03/18/15 Page 12 of 18 PageID 2191



 fails to make any showing of purposeful availment and foreseeability, traditional notions of fair

 play and substantial justice would be offended by the exercise of personal jurisdiction. See

 Thomas, 504 F. App’x at 849 (“Because we conclude that Defendants do not have minimum

 contacts with Florida, we need not address whether the exercise of jurisdiction would offend

 traditional notions of fair play and substantial justice.” (quotation omitted)); L.O.T.I. Grp. Prods.

 v. Lund, 907 F. Supp. 1528, 1534 (S.D. Fla. 1995) (finding that it would “offend traditional notions

 of fair play and substantial justice” to assert personal jurisdiction over a non-resident defendant

 who did “not have even minimum contacts with the forum”).

                                IV.     MOTION TO DISMISS BY CLYDE

          This Court also lacks personal jurisdiction over Clyde in regard to Plaintiff’s professional

 negligence claim. After the crash, upon Airborne’s recommendation, Plaintiff retained Clyde as

 legal counsel to guide Plaintiff through negotiations and litigation with Guardrisk. (Am.

 Compl. ¶ 34). Clyde also represented Airborne. (Id. ¶¶ 33, 36). According to Plaintiff, Clyde failed

 to properly notify Plaintiff of Plaintiff’s potential claims against Airborne and failed to disclose its

 conflict of interest in representing both Airborne and Plaintiff. (Id. ¶ 36). Clyde now seeks

 dismissal of the claims against it for lack of personal jurisdiction or, in the alternative, for improper

 venue.

          A.     Minimum Contacts

          As with Airborne, Plaintiff attempts to utilize the effects test by characterizing its claim as

 an intentional tort, but Plaintiff has not stated a claim for an intentional tort against Clyde.

 Plaintiff’s claim against Clyde is titled “Professional Negligence,” (Am. Compl., Count IV), and

 the facts alleged support a claim for negligence, (id. ¶¶ 34–36, 59, 61(g)–(h), 70–84). The closest

 Plaintiff’s Amended Complaint comes to alleging an intentional tort is the allegation that Clyde




                                              Page 12 of 18
Case 6:13-cv-01243-CEM-DAB Document 93 Filed 03/18/15 Page 13 of 18 PageID 2192



 “affirmatively state[d] that it ha[d] no conflict of interest that would preclude its competent

 representation of the interests of [Plaintiff].” (Id. ¶ 73). However, there is no indication that this

 alleged misrepresentation was intentional or fraudulent, and Plaintiff has not offered any evidence

 to support an inference of intentional conduct. The conclusory statement in Plaintiff’s Affidavit

 that “in retrospect [the conflict of interest] was deliberately hidden from me,” (June 8, 2014 Udey

 Aff. (“June Udey Aff.”), Doc. 79-1, ¶ 11), and the opinion that the “U.K. based legal representation

 was a con,” (id. ¶ 17), are insufficient to somehow transform Plaintiff’s claim into an intentional

 tort. Plaintiff has failed to identify any intentional action taken by Clyde toward Plaintiff to justify

 an application of the effects test.

         Plaintiff has also failed to otherwise establish minimum contacts. Clyde’s representation

 of Plaintiff involved United Kingdom attorneys representing Plaintiff in litigation that occurred in

 South Africa. While Clyde obviously communicated with Plaintiff, the communications were

 regarding the negotiations and litigation taking place in South Africa, stemming from the plane

 crash in West Africa, and involving claims against the South African insurer. As explained

 previously in detail, see Section III.B, such representation is insufficient to establish personal

 jurisdiction in Florida.

         Plaintiff makes a round-about argument that the representation should have involved

 Florida because claims should have been brought in Florida. In other words, according to Plaintiff,

 if Clyde had not committed malpractice, it would have brought claims on behalf of Plaintiff against

 Airborne in Florida, thus representing Plaintiff in Florida. Plaintiff’s argument is without merit.

 Even if the Court were to accept the questionable proposition that hypothetical representation can

 confer personal jurisdiction, Clyde could not have properly brought claims against Airborne in

 Florida for the asserted claims due to a lack of personal jurisdiction.




                                             Page 13 of 18
Case 6:13-cv-01243-CEM-DAB Document 93 Filed 03/18/15 Page 14 of 18 PageID 2193



            Nevertheless, there are some important distinctions between Clyde’s representation of

 Plaintiff and Airborne’s representation that, while not sufficient to confer jurisdiction, should be

 addressed. First, Plaintiff asserts that one of the attorneys from Clyde, Alex Stovold, “requested a

 meeting” with Plaintiff when Mr. Stovold was traveling to Miami, Florida, on other business. (June

 Udey Aff. ¶ 8(a)). As evidence of this, Plaintiff submitted an email from Mr. Stovold to Plaintiff

 stating:

                   “There is a likelihood I will be in Miami briefly during the week,
                   probably on Wednesday. I had hoped I might be able to travel to
                   meet with you, but I do not think that will be possible due to my
                   other work commitments that day. It is conceivable, if you are
                   available, that we could have a brief meeting in central Miami on
                   Wednesday, but subject to finalising the letter this week, I don’t
                   believe that would be necessary, nor would I want you to travel for
                   such a brief meeting. Nevertheless, I wanted to let you know I am
                   likely to be in Florida!”

 (Jan. 5, 2011 Email from Stovold to Udey, Doc. 79-2, at 23). Far from “requesting” a meeting with

 Plaintiff, it appears that Mr. Stovold was extending a courtesy to his client since Mr. Stovold was

 going to be in the State. Moreover, Plaintiff does not assert that the meeting ever actually took

 place, and the evidence indicates that it did not. In any event, Mr. Stovold’s offer to meet with his

 client face-to-face when Mr. Stovold was going to be nearby for other business is not sufficient to

 confer personal jurisdiction over Clyde. See Harris v. Shuttleworth & Ingersoll, P.C., 831 So. 2d

 706, 706–07 (Fla. 4th DCA 2002) (concluding no personal jurisdiction existed over Iowa attorney

 who negligently handled Florida resident’s trust proceeds stemming from Iowa property where the

 attorney “traveled to Florida concerning the Iowa property on at least one occasion”).

            In addition, Plaintiff alleges that Clyde’s representation of Plaintiff extended to

 representation in Florida because Clyde was agreeable to joining as co-counsel on claims filed by

 Plaintiff in Florida. Again, it is not alleged that Clyde ever joined in such representation, but even

 if it did, none of the malpractice allegations stem from any representation in Florida. Therefore,



                                             Page 14 of 18
Case 6:13-cv-01243-CEM-DAB Document 93 Filed 03/18/15 Page 15 of 18 PageID 2194



 such contacts cannot serve as the basis for personal jurisdiction. Sloss Indus. Corp., 488 F.3d at

 925 (“[A] defendant’s contacts with the forum state . . . must be related to the plaintiff’s cause of

 action or have given rise to it.” (quotation omitted)).

        Finally, Plaintiff makes much of the fact that Clyde considered the Aircraft lease

 agreement, which is controlled by Florida law, to be key evidence in the South African litigation,

 rendering a Florida law expert necessary. Although Plaintiff does not explain how this fact could

 possibly constitute a contact with Florida, it cites Kim v. Keenan, 71 F. Supp. 2d 1228, 1235 (M.D.

 Fla. 1999). In Kim, there was a contract at issue that was governed by Florida law—the retainer

 agreement between the plaintiff and the foreign attorneys—which the plaintiff alleged the

 attorneys breached. Id. at 1235–36. There are no analogous facts at issue here. 6 The contract in

 this case is a lease agreement to which Clyde was not a party and is not alleged to have breached.

 The mere fact that an otherwise unrelated Florida contract became a key piece of evidence in the

 South African litigation cannot serve as a basis for exercising personal jurisdiction over Clyde.

 See Oldfield v. Pueblo De Bahia Lora, S.A., 558 F.3d 1210, 1221–23 (11th Cir. 2009)

 (emphasizing that Due Process requires relatedness of the contact with the forum and the injury).

        Ultimately, the only contact Clyde had with Florida was the fact that Plaintiff lives here.

 Clyde is a United Kingdom-based law firm that was hired 7 to represent Plaintiff to recover

 proceeds from a plane crash that occurred in West Africa. The litigation took place in South Africa.

 The legal representation occurred in South Africa and the United Kingdom. Such representation is



        6
           Kim is also distinguishable on the basis that the out-of-state attorney contracted with a
 Florida attorney to act as the defendants’ “co-counsel and general agent while performing legal
 representation . . . in the state of Florida.” 71 F. Supp. 2d at 1235.
         7
           Plaintiff’s allegation that Airborne, rather than Plaintiff, reached out to the United
 Kingdom to hire Clyde is irrelevant. Minimum contacts are based on the defendant’s actions, and
 it is undisputed that Clyde did not reach out to Florida. Asahi, 480 U.S. at 109 (“[M]inimum
 contacts must be based on an act of the defendant.”).



                                            Page 15 of 18
Case 6:13-cv-01243-CEM-DAB Document 93 Filed 03/18/15 Page 16 of 18 PageID 2195



 insufficient to confer personal jurisdiction over Clyde in Florida. Compare Thomas, 504 F. App’x

 848–49, with Robinson, 74 F.3d 255–59.

        B.      Fair Play and Substantial Justice

        For the same reasons set forth in Section III.C, exercising personal jurisdiction over Clyde

 would offend traditional notions of fair play and substantial justice. Even more convincing here,

 however, is the fact that the contract signed by Plaintiff retaining Clyde as legal counsel contains

 a forum selection clause and a choice of law provision. Under these provisions, “any dispute or

 claim arising out of or in connection with such contract or its subject-matter or formation

 (including, without limitation, non-contractual disputes or claims) shall be: (a) governed by and

 construed in accordance with English law; and (b) subject to the exclusive jurisdiction of the

 English courts.” (2010 Terms of Business, Ex. C to Langley Aff., Doc. 75-1, ¶ 26).

        Plaintiff argues that he never received the 2009 Terms of Business document referenced

 by Clyde, but instead received the 2010 Terms of Business document. (June Udey Aff. ¶ 6). This

 is a distinction without a difference. The choice of law and forum selection clauses in each

 document are identical, (Compare 2009 Terms of Business, Doc. 85-2, ¶ 26 with 2010 Terms of

 Business ¶ 26), and Plaintiff does not dispute the fact that it received the 2010 agreement, which

 contains the law and venue provisions. Instead, Plaintiff argues that its agent signed the agreement

 without reading it and that he “would not have understood [the agreement’s] technical terms

 without an explanation.” (June Udey Aff. ¶ 6). Plaintiff’s argument is contrary to one of the most

 basic tenants of contract law: “parties who sign contracts will be bound by them regardless of

 whether they have read them or understood them.” MCC-Marble Ceramic Ctr., Inc. v. Ceramica

 Nuova d’Agostino, S.P.A., 144 F.3d 1384, 1387 n.9 (11th Cir. 1998); see also Marco Forwarding

 Co. v. Cont’l Cas. Co., 430 F. Supp. 2d 1289, 1295 (S.D. Fla. 2005) (“If [the plaintiff] neglected




                                           Page 16 of 18
Case 6:13-cv-01243-CEM-DAB Document 93 Filed 03/18/15 Page 17 of 18 PageID 2196



 to read the contracts and failed to consider the ramifications of the forum selection clauses in each

 of them, it did so at its own peril.”).

                                           V.      CONCLUSION

         Plaintiff has failed to establish minimum contacts with Florida by either Airborne or Clyde,

 and requiring them to litigate in this forum runs contrary to traditional notions of fair play and

 substantial justice. As such, this Court cannot exercise personal jurisdiction over Airborne and

 Clyde without violating the Due Process Clause. Therefore, it is ORDERED and ADJUDGED

 as follows:

               1. Airborne’s Motion to Dismiss the Amended Complaint for Lack of Personal

                  Jurisdiction (Doc. 86) is GRANTED.

               2. Clyde’s Motion to Dismiss for Lack of Personal Jurisdiction, and Motion to Quash

                  Improper Service of Process or, Alternately, Motion to Dismiss for Improper Venue

                  (Doc. 75) is GRANTED.

               3. The claims against Airborne and Clyde are DISMISSED without prejudice.

               4. Plaintiff’s Motion to Modify Case Management & Scheduling Order, Extend

                  Deadlines & to Proceed with Discovery (Doc. 80) is GRANTED in part. Plaintiff

                  and the remaining Defendants may submit a proposed Amended Case Management

                  Report on or before April 1, 2015.

               5. The Clerk is directed to TERMINATE Airborne and Clyde as defendants in this

                  case and amend the case style accordingly.




                                                Page 17 of 18
Case 6:13-cv-01243-CEM-DAB Document 93 Filed 03/18/15 Page 18 of 18 PageID 2197



        DONE and ORDERED in Orlando, Florida on March 18, 2015.




 Copies furnished to:

 Counsel of Record




                                     Page 18 of 18
